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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York



                                                       86 Chambers Street
                                                       New York, New York 10007


                                                       May 6, 2025
BY ECF
The Honorable Andrew L. Carter, Jr.                                                             05/06/2025
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square, Room 2203
New York, NY 10007

       Re:     Knight First Amendment Institute v. U.S. Dep’t of Homeland Security et al.,
               No. 17 Civ. 7572 (ALC)

Dear Judge Carter:

        I represent Defendants (the “government”) in the above-referenced FOIA action and write
respectfully on behalf of all parties in the above-referenced FOIA action to provide a status update.
As noted in our last status report, Plaintiff has reviewed all of the draft Vaughn indexes provided
by the government and determined that it will not raise any additional challenges to the
government’s asserted FOIA exemptions. Therefore, the only remaining issue is attorneys’ fees
and costs. Plaintiff is continuing to prepare a demand and supporting documentation for the
government's consideration. To allow the parties to discuss a potential resolution of this issue
without the Court’s intervention, the parties respectfully propose to file a further status update by
July 10, 2025.

       I thank the Court for its attention to this matter.

                                                       Respectfully,

                                                       JAY CLAYTON
                                                       United States Attorney

                                               By:     /s/ Peter Aronoff
                                                       PETER ARONOFF
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cc: Counsel for Plaintiff (by ECF)
